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                                                                                    11   Counterclaimant Empire Distribution Inc.
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                                                                                    12                         UNITED STATES DISTRICT COURT
                                                        I RVINE , CA 92614 -2545
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                                                                                    13                        CENTRAL DISTRICT OF CALIFORNIA
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                                                                                    14                                 WESTERN DIVISION
                                                                                    15   TWENTIETH CENTURY FOX                  Case No. 2:15-cv-02158-PA-FFM
                                                                                         TELEVISION, a division of
                                                                                    16   TWENTIETH CENTURY FOX                  Hon. Percy Anderson
                                                                                         FILM CORPORATION, a Delaware
                                                                                    17   company, and FOX                       EMPIRE DISTRIBUTION, INC.’S
                                                                                         BROADCASTING COMPANY, a
                                                                                    18   Delaware corporation,                  COUNTERCLAIMS FOR:
                                                                                                                                1. FEDERAL TRADEMARK
                                                                                    19                   Plaintiffs,
                                                                                                                                   INFRINGEMENT
                                                                                    20              v.                          2. FEDERAL TRADEMARK
                                                                                                                                   DILUTION
                                                                                    21   EMPIRE DISTRIBUTION, INC., a
                                                                                         California corporation,                3. FEDERAL UNFAIR COMPETITION
                                                                                    22                                          4. CALIFORNIA STATUTORY
                                                                                                         Defendant.                UNFAIR COMPETITION AND
                                                                                    23
                                                                                                                                   FALSE ADVERTISING
                                                                                    24                                          5. CALIFORNIA COMMON LAW
                                                                                                                                   TRADEMARK INFRINGEMENT
                                                                                    25
                                                                                                                                6. CALIFORNIA TRADEMARK
                                                                                    26                                             DILUTION
                                                                                    27   Caption continued on next page.        DEMAND FOR JURY TRIAL
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                                                                                                              EMPIRE DISTRIBUTION, INC.’S COUNTERCLAIMS
                                                                                         25293891
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                                                                                     1   EMPIRE DISTRIBUTION, INC., a
                                                                                         California corporation,
                                                                                     2
                                                                                     3                       Counterclaimant,
                                                                                     4              v.
                                                                                     5   TWENTIETH CENTURY FOX
                                                                                         TELEVISION, a division of
                                                                                     6   TWENTIETH CENTURY FOX
                                                                                         FILM CORPORATION, a Delaware
                                                                                     7   company, and FOX
                                                                                         BROADCASTING COMPANY, a
                                                                                     8   Delaware corporation,
                                                                                     9                       Counter-Defendants.
                                                                                    10
                                                                                    11              Defendant and Counterclaimant Empire Distribution, Inc. (“Empire”) hereby
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                                                                                    12   asserts its Counterclaims against Plaintiffs and Counter-Defendants Twentieth
                                                        I RVINE , CA 92614 -2545
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                                                                                    13   Century Fox Television, a division of Twentieth Century Fox Film Corporation,
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                                                                                    14   and Fox Broadcasting Company (collectively “Fox”) as follows:
                                                                                    15                                       INTRODUCTION
                                                                                    16              1.    Fox filed this suit as a preemptive ploy to deprive Empire of its natural
                                                                                    17   position as the plaintiff. This case arises out of Fox’s willful infringement of
                                                                                    18   Empire’s well-established trademarks and Fox’s unfair, unlawful and deceptive
                                                                                    19   business practices in violation of federal and state law. Fox’s rampant,
                                                                                    20   unauthorized use of the “Empire” name to promote, market, distribute and sell its
                                                                                    21   television program and music has caused, and will continue to cause, significant
                                                                                    22   confusion to Empire’s customers and irreparable harm to the identity and brand that
                                                                                    23   Empire has built over many years.
                                                                                    24                                          THE PARTIES
                                                                                    25              2.    Empire is a California corporation with its principal place of business
                                                                                    26   at 16 Maiden Lane, San Francisco, CA 94108.
                                                                                    27              3.    Upon information and belief, Counter-Defendant Twentieth Century
                                                                                    28   Fox Film Corporation (“Fox Film”) is a Delaware corporation with its principal
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                                                                                                                  EMPIRE DISTRIBUTION, INC.’S COUNTERCLAIMS
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                                                                                     1   place of business at 10201 West Pico Boulevard, Los Angeles, California 90064.
                                                                                     2   Upon information and belief, Fox Film purports to own certain intellectual property
                                                                                     3   rights in and to the television series Empire and the music therefrom.
                                                                                     4              4.   Upon information and belief, Counter-Defendant Twentieth Century
                                                                                     5   Fox Television (“Fox TV”) is a division of Fox Film. Fox TV creates and produces
                                                                                     6   television programs.
                                                                                     7              5.   Upon information and belief, Counter-Defendant Fox Broadcasting
                                                                                     8   Company (“Fox Broadcasting”) is a Delaware corporation with its principal place
                                                                                     9   of business at 10201 West Pico Boulevard, Los Angeles, California 90064. Upon
                                                                                    10   information and belief, Fox Broadcasting operates the Fox Network, a national
                                                                                    11   broadcast television network with 203 affiliates in the United States.
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                                                                                    12                               JURISDICTION AND VENUE
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                                                                                    13              6.   This Court has original jurisdiction over this action under 28 U.S.C. §§
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                                                                                    14   1331 and 1338(a) and (b) as it involves claims presenting federal questions under
                                                                                    15   15 U.S.C. § 1121(a) (actions arising under the Lanham Act have original
                                                                                    16   jurisdiction in federal courts). This Court also has supplemental jurisdiction over
                                                                                    17   the state statutory and common law claims under 28 U.S.C. §§ 1338(b) and 1367(a)
                                                                                    18   because these claims are so related to the claims under which the Court has original
                                                                                    19   jurisdiction that they form part of the same case and controversy under Article III of
                                                                                    20   the United States Constitution.
                                                                                    21              7.   Fox is subject to this Court’s general and specific personal jurisdiction
                                                                                    22   because it is domiciled in the State of California and has sufficient minimum
                                                                                    23   contacts with the State of California.
                                                                                    24              8.   Venue is proper in this District under 28 U.S.C. § 1391(b)(1) and (2)
                                                                                    25   because the parties are residents of this District and a substantial part of the acts or
                                                                                    26   events giving rise to the claims occurred in this District.
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                                                                                                                 EMPIRE DISTRIBUTION, INC.’S COUNTERCLAIMS
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                                                                                     1                      FACTS COMMON TO ALL COUNTERCLAIMS
                                                                                     2              9.    Empire is a well-known music record label and music distribution
                                                                                     3   company that continuously since 2010 has released albums in a wide variety of
                                                                                     4   genres, specifically focusing on hip hop, rap, and R&B, under the trademarks
                                                                                     5   EMPIRE™, EMPIRE DISTRIBUTION™ and EMPIRE RECORDINGS™ (the
                                                                                     6   “Marks”). Empire promotes, markets and sells its music through various channels
                                                                                     7   of commerce including, but not limited to, its websites (see http://empi.re and
                                                                                     8   www.empiredistribution.com).
                                                                                     9              10.   Over the past five years, Empire has become one of the largest
                                                                                    10   distributors and producers of music in the country. It has had numerous Billboard
                                                                                    11   charting releases from well-recognized artists under its label, having partnered with
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                                                                                    12   notable artists such as Kendrick Lamar, Migos, Too Short, Slim Thug, Rich Homie
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                                                                                    13   Quan, Sage the Gemini and Snoop Dogg. Songs released by Empire under the
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                                                                                    14   EMPIRE DISTRIBUTION and EMPIRE RECORDINGS mark have earned
                                                                                    15   platinum and gold records, and the label has sponsored sold-out showcases under
                                                                                    16   its name at events such as South by Southwest.
                                                                                    17              11.   Under both Marks, Empire has built relationships across the music
                                                                                    18   industry to successfully record, promote, and distribute platinum-and gold-certified
                                                                                    19   records. As part of its partnership with Universal/Republic Records, Empire was
                                                                                    20   recognized by the Recording Industry Association of America for its role in selling
                                                                                    21   over 1,500,000 records for the artist Sage the Gemini.
                                                                                    22              12.   The following images depict the Marks in use alongside the Republic
                                                                                    23   Records mark in Empire and Republic’s RIAA-certified platinum plaque
                                                                                    24   commemorating their sale of over 1,000,000 copies of the record “Gas Pedal” and
                                                                                    25   their sale of over 500,000 copies of the record “Red Nose.”
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                                                                                                                  EMPIRE DISTRIBUTION, INC.’S COUNTERCLAIMS
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                                                                                    25              13.   Empire and its partners have now sold over 3,000,000 records for artist
                                                                                    26   Sage the Gemini. “Red Nose” is being certified platinum (over one million sales)
                                                                                    27   and “Gas Pedal” is almost double platinum.
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                                                                                                                  EMPIRE DISTRIBUTION, INC.’S COUNTERCLAIMS
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                                                                                     1              14.   The Marks have been used prominently in press releases and coverage
                                                                                     2   of those records. Separately, Empire is eng
                                                                                                                                 engaged
                                                                                                                                    aged in an ongoing relationship with
                                                                                     3   Atlantic Records to co-develop,
                                                                                                                develop, distribute, and market artists. Through its
                                                                                     4   partnership with eOne and others, Empire has distributed, marketed, and sold
                                                                                     5   thousands of physical records under its Marks domestically and aro
                                                                                                                                                        around
                                                                                                                                                           und the world.
                                                                                     6              15.   Beyond this widespread exposure, the Marks have been the subject of
                                                                                     7   broad advertising and promotional campaigns
                                                                                                                           campaigns,, leading to a prominent presence,
                                                                                     8   both online and offline,, as the images below demonstrate. The Marks became a
                                                                                     9   recognized symbol for quality music and music services years ago. As a result, the
                                                                                    10   Marks are well known among the relevant consuming public as identifying
                                                                                    11   Empire’s goods and services.
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                                                                                    12              16.   For example, one of Empire’s Marks was promoted online and in
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                                                                                    13   person at the A3C hip hop festival in October 2012
                                                                                                                                       2012,, as the image below
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                                                                                    14   demonstrates.
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                                                                                                                  EMPIRE DISTRIBUTION, INC.’S COUNTERCLAIMS
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                                                                                     1              17.   One of Empire
                                                                                                                 Empire’s Marks was used to promote the company as a leader
                                                                                     2   in the music recording, promotion, and digital distribution space as part of a
                                                                                     3   Beatstars seminar in May 2013.
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                                                                                    16              18.   One of Empire’s Marks was included among other prominent music
                                                                                    17   and consumer brands at the BET awards weekend in June 2013.
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                                                                                     1              19.   Due to the tremendous amount of valuable goodwill Empire has
                                                                                     2   developed in the Marks, it cannot permit their unauthorized use, because such use is
                                                                                     3   likely to cause confusion among the public as to the source, origin, sponsorship, or
                                                                                     4   affiliation of services identified by the Marks, but not authorized by Empire.
                                                                                     5              20.   The recent debut of Fox’s television program “Empire” -- over five
                                                                                     6   years after Empire began using the Marks -- has created significant confusion with
                                                                                     7   Empire’s products and services in the marketplace. The program follows the
                                                                                     8   fictional hip hop music label named “Empire Enterprises.” Producers of “Empire”
                                                                                     9   have publicly stated that the show’s events, business, and characters are based on
                                                                                    10   entities and individuals from the real-world music industry. Numerous consumers,
                                                                                    11   artists and Empire’s business partners have expressed confusion to Empire as to
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                                                                                    12   whether the fictional “Empire” program has any affiliation or business relationship
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                                                                                    13   with the real-life Empire, which it does not.
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                                                                                    14              21.   Fox’s use of the “Empire” mark below in all upper case letters, the
                                                                                    15   same font treatment as in Empire’s marks, has significantly exacerbated this
                                                                                    16   confusion.
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                                                                                    27              22.   Fox’s use of a city skyline graphic in conjunction with the “Empire”
                                                                                    28   mark, a combination originating with and made famous by Empire, in both
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                                                                                                                  EMPIRE DISTRIBUTION, INC.’S COUNTERCLAIMS
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                                                                                     1   marketing materials and merchandise, such as the gold necklace depicted below
                                                                                     2   that is worn by one of the main characters on Fox’s tel
                                                                                                                                             television
                                                                                                                                                evision series, has made the
                                                                                     3   confusion between the marks inescapable.
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                                                                                    11              23.   Moreover, Fox advertises, distributes and sells music under the
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                                                                                    12   “Empire” mark. Because this music shares the same search terms and genres as
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                                                                                         Empire’s music, the albums and songs have been positioned in close proximity in
                                                                                    14   online stores such as iTunes, Google Play, Amazon.com, and Spotify.. As
                                                                                    15   demonstrated by the images below, tthis further perpetuates damaging public
                                                                                    16   confusion.
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                                                                                                                  EMPIRE DISTRIBUTION, INC.’S COUNTERCLAIMS
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                                                                                                             EMPIRE DISTRIBUTION, INC.’S COUNTERCLAIMS
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                                                                                    11              24.   There is nothing “fictional” about Fox’s music distribution operations.
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                                                                                    12   Like other record labels, Fox has an online account with Mediabase
                                                                                                                                                  Mediabase,, a music
                                                        I RVINE , CA 92614 -2545
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                                                                                         industry service that monitors radio station airplay in the United States and
                                                                                    14   Canadian markets and provides in-depth
                                                                                                                          depth analytical tools for radio and record
                                                                                    15   industry professionals.
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                                                                                     1              25.   Fox also promotes, markets and advertises its music and artists under
                                                                                     2   the “Empire” mark at radio stations, live performances, events, physical record
                                                                                     3   stores, and other venues where Empire promotes, markets and advertises its music
                                                                                     4   and artists.
                                                                                     5              26.   For example, Empire’s franchise artist, Rayven Justice, recently met
                                                                                     6   with internationally renowned DJ Crisco Kidd, at a Dallas radio station to promote
                                                                                     7   his new single. Fox’s “Empire” artists, Yazz and Jussie, met with Crisco Kidd the
                                                                                     8   very next day, at the very same radio station, to promote their new single.
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                                                                                    24              27.   The rap artist Yazz from Fox’s “Empire” program was recently
                                                                                    25   promoted, with the “Empire” mark, alongside multiple Empire rap artists, including
                                                                                    26   Dizzy Wright, Hopsin, Jarren Benton, Rayven Justice and Pia Mia, for a concert
                                                                                    27   sponsored by one of the largest radio stations in the country, Power 106 FM.
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                                                                                                                  EMPIRE DISTRIBUTION, INC.’S COUNTERCLAIMS
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                                                                                    19              28.   Remarkably, Yazz is the only artist credited with the “Empire” logo,
                                                                                    20   despite there being five other artists affiliated with Empire – the true owner of the
                                                                                    21   Mark.
                                                                                    22              29.   Fox’s misuse of the “Empire” name has confused other artists and their
                                                                                    23   followers. For example, Shaggy, a Grammy award winner and one of the best
                                                                                    24   selling reggae musicians of all time, posted Empire’s logo on the internet, and one
                                                                                    25   follower commented “#teamCookie” in reference to one of the lead characters on
                                                                                    26   Fox’s “Empire” program, Cookie Lyon.
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                                                                                    23              30.   A rap and hip hop music company, Gslaps Entertainment, recently
                                                                                    24   posted a comment on its Facebook site praising Empire for the fame, success and
                                                                                    25   longevity of the “Empire logo” over the years, yet had to clarify that it was “NOT
                                                                                    26   the TV show.”
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                                                                                    24              31.   The Lanham Act and similar state laws prohibit Fox’s use of a
                                                                                    25   trademark in connection with the advertising or sale of any goods or services when
                                                                                    26   such use is likely to cause confusion as to the source of those goods or services. 15
                                                                                    27   U.S.C. §§ 1114, 1125(a). The Lanham Act also prohibits any person or entity from
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                                                                                                                  EMPIRE DISTRIBUTION, INC.’S COUNTERCLAIMS
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                                                                                     1   using a word or name in a manner that is likely to cause confusion as to the
                                                                                     2   affiliation, connection or association with another person or entity.
                                                                                     3              32.   Fox’s unauthorized use of the Empire Marks has already confused and
                                                                                     4   is likely to continue to confuse members of the public into believing that Fox is an
                                                                                     5   approved licensee of or otherwise affiliated with Empire, the very type of deception
                                                                                     6   that these laws prohibit. Moreover, Fox’s “Empire’s” portrayal of a label run by a
                                                                                     7   homophobic drug dealer prone to murdering his friends, threatens to tarnish the
                                                                                     8   brand and harm the goodwill built by Empire.
                                                                                     9                                   FIRST COUNTERCLAIM
                                                                                    10        (Federal Trademark Infringement under 15 U.S.C. § 1125(a) against All
                                                                                    11                                      Counter-Defendants)
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                                                                                    12              33.   Empire realleges and incorporates herein the allegations contained in
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                                                                                    13   paragraphs 1-32 of this Counterclaim.
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                                                                                    14              34.   Empire has valid trademarks that are entitled to protection, including
                                                                                    15   the marks EMPIRE™, EMPIRE DISTRIBUTION™ and EMPIRE
                                                                                    16   RECORDINGS™.
                                                                                    17              35.   Empire has continuously and extensively used its Marks in commerce
                                                                                    18   to identify its goods and services in the United States and worldwide, long before
                                                                                    19   Fox began using the “Empire” mark.
                                                                                    20              36.   Fox has used, and continues to use, its virtually identical and
                                                                                    21   confusingly similar “Empire” name, along with other words, terms, names,
                                                                                    22   symbols, or devices, or any combination thereof, in commerce, to market, promote,
                                                                                    23   advertise and sell its goods and services, without Empire’s consent.
                                                                                    24              37.   Fox’s improper and unauthorized use of the “Empire” name constitutes
                                                                                    25   false designations of origin, false or misleading descriptions of fact, or false or
                                                                                    26   misleading representations of fact, which is likely to cause confusion, to cause
                                                                                    27   mistake, or to deceive others as to the affiliation, connection, or association of Fox
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                                                                                     1   with Empire, or as to the origin, sponsorship, or approval of Fox’s goods, services,
                                                                                     2   or commercial activities by Empire, in violation of 15 U.S.C. § 1125(a).
                                                                                     3              38.   Fox also misrepresents the nature, characteristics, qualities, or
                                                                                     4   geographic origin of its goods, services, or commercial activities, through its
                                                                                     5   improper and unauthorized use of the “Empire” name in commercial advertising or
                                                                                     6   promotion, in violation of 15 U.S.C. § 1125(a).
                                                                                     7              39.   As a result of Fox’s trademark infringement and wrongful conduct,
                                                                                     8   Empire has suffered substantial and irreparable injury, and will continue to suffer
                                                                                     9   irreparable injury unless such conduct is preliminarily and permanently enjoined by
                                                                                    10   this Court. This injury includes, but is not limited to, the loss of goodwill and
                                                                                    11   reputation that cannot be remedied solely through damages.
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                                                                                    12              40.   Empire has no adequate remedy at law and is entitled to preliminary
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                                                                                    13   and permanent injunctive relief pursuant to 15 U.S.C. § 1116 restraining and
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                                                                                    14   enjoining Fox and its officers, directors, agents, employees, representatives, and
                                                                                    15   any persons or entities acting thereunder, in concert with, or on their behalf, from
                                                                                    16   using the “Empire” Marks in commerce.
                                                                                    17              41.   Pursuant to 15 U.S.C. § 1117, Empire is also entitled to recover Fox’s
                                                                                    18   profits; all damages sustained by Empire; up to three times the amount of actual
                                                                                    19   damages; and the costs incurred in this action.
                                                                                    20              42.   Fox’s willful use of Empire’s Marks without excuse or justification
                                                                                    21   renders this an exceptional case entitling Empire to recover its reasonable attorneys’
                                                                                    22   fees.
                                                                                    23                                 SECOND COUNTERCLAIM
                                                                                    24     (Federal Trademark Dilution under 15 U.S.C. § 1125(c) against all Counter-
                                                                                    25                                           Defendants)
                                                                                    26              43.   Empire realleges and incorporates herein the allegations contained in
                                                                                    27   paragraphs 1-42 of this Counterclaim.
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                                                                                     1              44.   Empire’s Marks are famous and distinctive, and became famous and
                                                                                     2   distinctive well before Fox’s admittedly recent use of the “Empire” mark.
                                                                                     3              45.   Fox’s use of the “Empire” name in connection with the advertisement
                                                                                     4   and sale of its goods and services is likely to cause dilution by blurring or
                                                                                     5   tarnishment of Empire’s Marks. For example, Fox’s “Empire’s” portrayal of a
                                                                                     6   record label run by a homophobic drug dealer prone to murdering his friends
                                                                                     7   threatens to tarnish the brand and harm the goodwill built by Empire.
                                                                                     8              46.   As a result of Fox’s trademark infringement and wrongful conduct,
                                                                                     9   Empire has suffered substantial harm and is entitled to recover Fox’s profits; all
                                                                                    10   damages sustained by Empire; up to three times the amount of actual damages; and
                                                                                    11   the costs incurred in this action, pursuant to 15 U.S.C. § 1117.
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                                                                                    12              47.   Fox’s willful use of Empire’s Marks without excuse or justification
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                                                                                    13   renders this an exceptional case entitling Empire to recover its reasonable attorneys’
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                                                                                    14   fees.
                                                                                    15              48.   Empire has suffered, and will continue to suffer, irreparable injury.
                                                                                    16   Unless such conduct is preliminarily and permanently enjoined by this Court, Fox
                                                                                    17   will continue to engage in such wrongful conduct to the detriment of Empire and its
                                                                                    18   Marks. This injury includes, but is not limited to, the loss of goodwill and
                                                                                    19   reputation that cannot be remedied through damages.
                                                                                    20              49.   Empire has no adequate remedy at law and is entitled to preliminary
                                                                                    21   and permanent injunctive relief pursuant to 15 U.S.C. § 1116, restraining and
                                                                                    22   enjoining Fox and its agents, servants, employees, and all persons acting
                                                                                    23   thereunder, in concert with, or on their behalf, from using the Marks in commerce.
                                                                                    24                                  THIRD COUNTERCLAIM
                                                                                    25     (Federal Unfair Competition under 15 U.S.C. § 1125(a) against all Counter-
                                                                                    26                                           Defendants)
                                                                                    27              50.   Empire realleges and incorporates herein the allegations contained in
                                                                                    28   paragraphs 1-49 of this Counterclaim.
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                                                                                      1              51.   Fox has deliberately and willfully attempted to trade on Empire’s
                                                                                      2   longstanding and hard-earned goodwill in its Marks and the reputation Empire
                                                                                      3   established in connection with its products and services, as well as in order to
                                                                                      4   confuse consumers as to the origin and sponsorship of Fox’s goods and services
                                                                                      5   and to unfairly compete by promoting those goods and services in commerce as
                                                                                      6   those of Empire.
                                                                                      7              52.   Fox’s unauthorized and wrongful conduct also has deprived and will
                                                                                      8   continue to deprive Empire of the ability to control consumer perception of
                                                                                      9   products and services offered under its Marks.
                                                                                     10              53.   Fox’s conduct in adopting and using its “Empire” name is likely to
                                                                                     11   cause confusion, mistake or deception as to the affiliation, connection or association
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                                                                                     12   of Fox and its goods and services with Empire, and as to the sponsorship, origin or
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                                                                                     13   approval of Fox and its goods and services, in violation of 15 U.S.C. § 1125(a).
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                                                                                     14              54.   As a result of Fox’s trademark infringement and wrongful conduct,
                                                                                     15   Empire has suffered, and will continue to suffer, irreparably injury. Unless such
                                                                                     16   conduct is preliminarily and permanently enjoined by this Court, Fox will continue
                                                                                     17   to engage in such wrongful conduct to the detriment of Empire and its Marks. This
                                                                                     18   injury includes, but is not limited to, the loss of goodwill and reputation that cannot
                                                                                     19   be remedied through damages.
                                                                                     20              55.   Empire has no adequate remedy at law and is entitled to preliminary
                                                                                     21   and permanent injunctive relief pursuant to 15 U.S.C. § 1116 restraining and
                                                                                     22   enjoining Fox and its agents, servants, employees, and all persons acting
                                                                                     23   thereunder, in concert with, or on their behalf, from using the “Empire” Marks in
                                                                                     24   commerce.
                                                                                     25              56.   Pursuant to 15 U.S.C. § 1117, Empire is also entitled to recover Fox’s
                                                                                     26   profits; all damages sustained by Empire; up to three times the amount of actual
                                                                                     27   damages; and the costs incurred in this action.
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                                                                                      1              57.   Fox’s willful use of Empire’s Marks without excuse or justification
                                                                                      2   renders this an exceptional case entitling Empire to recover its reasonable attorneys’
                                                                                      3   fees.
                                                                                      4                                 FOURTH COUNTERCLAIM
                                                                                      5         (Statutory Unfair Competition and False Advertising under California
                                                                                      6   Business and Professions Code §§ 17200 and 17500 et seq. against all Counter-
                                                                                      7                                           Defendants)
                                                                                      8              58.   Empire realleges and incorporates herein the allegations contained in
                                                                                      9   paragraphs 1-57 of this Counterclaim.
                                                                                     10              59.   By the conduct described above, Fox has engaged in unlawful, unfair
                                                                                     11   and/or fraudulent business acts or practices, and unfair, deceptive, untrue or
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                                                                                     12   misleading advertising.
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                                                                                     13              60.   By the conduct described above, Fox has made untrue and misleading
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                                                                                     14   statements in connection with its promotion, marketing, advertisement and sale of
                                                                                     15   its goods and services, which they knew, or by the exercise of reasonable care
                                                                                     16   should have known, were untrue or misleading.
                                                                                     17              61.   Fox’s untrue and misleading statements in connection with its
                                                                                     18   promotion, marketing, advertisement and sale of its goods and services are likely to
                                                                                     19   deceive members of the public.
                                                                                     20              62.   Fox’s wrongful conduct constitutes unfair competition and false
                                                                                     21   advertising under California Business and Professions Code §§ 17200 et seq. and
                                                                                     22   17500 et seq.
                                                                                     23              63.   As a direct and proximate result of Fox’s conduct, Empire has
                                                                                     24   suffered, and will continue to suffer, damages to its business, reputation and
                                                                                     25   goodwill.
                                                                                     26              64.   Fox should be ordered to pay restitution and disgorge its profits gained
                                                                                     27   from its wrongful conduct.
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                                                                                      1              65.   Unless Fox’s conduct is preliminarily and permanently enjoined,
                                                                                      2   Empire will continue to suffer irreparable injury for which there is no adequate
                                                                                      3   remedy at law.
                                                                                      4                                  FIFTH COUNTERCLAIM
                                                                                      5       (California Common Law Trademark Infringement against all Counter-
                                                                                      6                                          Defendants)
                                                                                      7              66.   Empire realleges and incorporates herein the allegations contained in
                                                                                      8   paragraphs 1-65 of this Counterclaim.
                                                                                      9              67.   Fox’s use of the “Empire” name to advertise, market, promote and sell
                                                                                     10   its products and services has created a likelihood of confusion, mistake or
                                                                                     11   deception, and therefore infringes on Empire’s Marks in violation of the common
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                                                                                     12   law of the State of California.
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                                                                                     13              68.   As a direct and proximate result of Fox’s conduct, Empire has
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                                                                                     14   suffered, and will continue to suffer, damages to its business, reputation and
                                                                                     15   goodwill.
                                                                                     16              69.   Unless Fox’s conduct is preliminarily and permanently enjoined,
                                                                                     17   Empire will continue to suffer irreparable injury for which there is no adequate
                                                                                     18   remedy at law.
                                                                                     19                                  SIXTH COUNTERCLAIM
                                                                                     20   (Trademark Dilution under California Business and Professions Code § 14247
                                                                                     21                                against all Counter-Defendants)
                                                                                     22              70.   Empire realleges and incorporates herein the allegations contained in
                                                                                     23   paragraphs 1-69 of this Counterclaim.
                                                                                     24              71.   Empire’s Marks are famous and distinctive, and they became famous
                                                                                     25   and distinctive well before Fox’s unauthorized use of the “Empire” name.
                                                                                     26              72.   Fox’s willful use of the “Empire” name in connection with the
                                                                                     27   advertisement and sale of its goods and services is likely to cause dilution by
                                                                                     28   blurring or tarnishment of Empire’s Marks.
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                                                                                      1              73.   Empire has suffered, and will continue to suffer, substantial and
                                                                                      2   irreparable injury, and has no adequate remedy at law.
                                                                                      3              74.   Empire is entitled to an injunction against Fox’s commercial use of the
                                                                                      4   Marks under California Business and Professions Code § 14247.
                                                                                      5              75.   Because Fox willfully intended to cause dilution, it should be required
                                                                                      6   to pay Empire up to three times Fox’s profits from, and up to three times all
                                                                                      7   damages suffered by reason of, the wrongful manufacture, use, display, or sale,
                                                                                      8   under California Business and Professions Code § 14250.
                                                                                      9                                    PRAYER FOR RELIEF
                                                                                     10              Wherefore, Empire prays for relief as follows:
                                                                                     11              1.    That the Court award judgment to Empire on all of its Counterclaims;
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                                                                                     12              2.    That Fox, its officers, directors, agents, employees, representatives,
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                                                                                     13   and any persons or entities acting in concert or participation with them, be
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                                                                                     14   preliminarily and permanently enjoined from using in commerce the “Empire”
                                                                                     15   name, or any variant thereof which is a colorable imitation of other otherwise likely
                                                                                     16   to be mistaken or confused with Empire’s Marks, pursuant to 15 U.S.C. § 1116,
                                                                                     17   California Business and Professions Code §§ 14247, 17203, or as otherwise
                                                                                     18   available under federal or state statutory or common law;
                                                                                     19              3.    That Fox, its officers, directors, agents, employees, representatives and
                                                                                     20   any persons or entities acting in concert or participation with them, be preliminarily
                                                                                     21   and permanently enjoined from causing any dilution, blurring and/or tarnishment to
                                                                                     22   Empire’s Marks, pursuant to 15 U.S.C. § 1116, California Business and Professions
                                                                                     23   Code § 14247, or as otherwise available under federal or state statutory or common
                                                                                     24   law;
                                                                                     25              4.    That Fox pay to Empire any and all profits derived by Fox and all
                                                                                     26   damages sustained by Empire by reason of the acts hereinabove complained of, plus
                                                                                     27   additional damages up to three times above the amount found as actual damages,
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                                                                                      1   pursuant to 15 U.S.C. § 1117(a), California Business and Professions Code
                                                                                      2   § 14250, or as otherwise available under federal or state statutory or common law;
                                                                                      3              5.   That Fox pay restitution and disgorge its profits for all ill-gotten gains
                                                                                      4   from its wrongful conduct, as available under federal or state statutory or common
                                                                                      5   law;
                                                                                      6              6.   That Fox reimburse Empire for all of its reasonable costs and
                                                                                      7   attorneys’ fees pursuant to 15 U.S.C. §1117(a), or other applicable federal or state
                                                                                      8   statutory or common law;
                                                                                      9              7.   That Fox pay pre-judgment and post-judgment interest to the fullest
                                                                                     10   extent permitted by law; and
                                                                                     11              8.   That the Court grant such other relief as it deems just, equitable or
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                                                                                     12   appropriate.
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                                                                                     14   Dated: June 4, 2015                             TROUTMAN SANDERS LLP
                                                                                     15
                                                                                     16                                                   By: /s/ Paul L. Gale
                                                                                                                                            Paul L. Gale
                                                                                     17                                                     Peter N. Villar
                                                                                                                                            John M. Bowler
                                                                                     18                                                     Michael D. Hobbs
                                                                                     19                                                        Attorneys for Defendant and
                                                                                                                                               Counterclaimant Empire
                                                                                     20                                                        Distribution Inc.
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                                                                                      1                                 DEMAND FOR JURY TRIAL
                                                                                      2              In accordance with Fed. R. Civ. P. 38, Empire demands a trial by jury on all
                                                                                      3   issues so triable.
                                                                                      4
                                                                                          Dated: June 4, 2015                             TROUTMAN SANDERS LLP
                                                                                      5
                                                                                      6
                                                                                                                                          By: /s/ Paul L. Gale
                                                                                      7                                                     Paul L. Gale
                                                                                                                                            Peter N. Villar
                                                                                      8                                                     John M. Bowler
                                                                                                                                            Michael D. Hobbs
                                                                                      9
                                                                                                                                               Attorneys for Defendant and
                                                                                     10                                                        Counterclaimant Empire
                                                                                                                                               Distribution Inc.
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